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For Defendants




                                 UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

   GURJIT S. DOAD and SARABJIT
   DOAD, husband and wife and their
   marital community
   ______________________________,

                               Plaintiff(s),                     3:21−cv−00645−JR
                                                       Case No.: _______________________

   v.
   C.R. ENGLAND, INC., a foreign
   corporation; LEROY TILLMAN, JR. and
   ______________________________,                     JOINT ALTERNATIVE DISPUTE
   JANE DOE TILLMAN, husband and wife
   and their marital community’ and DOES 1-X
                                                       RESOLUTION REPORT
                        Defendant(s).
   _____________________________________

   Pursuant to LR 16-4(d), the parties to all cases, unless exempt, are required to confer regarding
   ADR and file this report within one-hundred fifty (150) days of the initiation of a lawsuit. This
   report is submitted in compliance with LR 16-4(d).

    1.      Have counsel held settlement discussions with their clients and the opposing party?
            ☐Yes          ✔
                          ☐No

            If not, provide an explanation:

            Counsel have discussed potential settlement, but no formal demand has been
            made other than Plaintiff's prayer.




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 2.      The parties propose:    (check one of the following)

        ✔
        ☐(a) That this case be referred to a neutral of their choice for ADR not
                 sponsored by the Court pursuant to LR 16-4(e)(1).

         ☐(b) That the Court refer this case to mediation using a Court-sponsored
              mediator. (See LR 16-4(f) for Court-sponsored mediation procedures).
              The parties seek a Court mediator because:




         ☐(c) ADR may be helpful at a later date following completion of:




         ☐(d) The parties believe the Court would be of assistance in preparing for
              ADR by:




         ☐(e) The parties do not believe that any form of ADR will assist in the
              resolution of this case.


        ☐(f) Other:
        ✔
         The parties have agreed to participate in mediation with retired Judge Eric
         Bergstrom. The parties have requested June 2022 dates and are currently
         awaiting Judge Bergstrom's response regarding his availability. Plaintiffs intend
         to submit a settlement demand to defendants reasonably prior to mediation.




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      April 29, 2022                                /s/ Daniel P. Mallove
Dated:________________________                By:   _____________________________
                                                    WSBA No. 13158 (pro hac vice)


                                              By:   /s/ Derek J. Ashton
                                                    ______________________________
                                                    OSB No. 871552




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